       Case 2:20-cr-00151-DPM Document 34 Filed 02/03/21 Page 1 of 1


             IN THE UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF ARKANSAS
                       DELTA DIVISION

UNITED STATES OF AMERICA                                       PLAINTIFF

v.                         No. 2:20-cr-151-DPM

DEMARIO JEWON CURTIS                                          DEFENDANT

                                ORDER
     For the reasons stated on the record at the 3 February 2021
hearing, the Court granted the United States' oral motion to withdraw
the revocation petition.     The petition, Doc. 24, is denied without
prejudice. The Court released Curtis and reimposed his conditions of
release, Doc. 20.
     So Ordered.

                                                         P'
                                        D .P. Marshall Jr.
                                        United States District Judge
